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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CAMDEN VICINAGE
IN RE: BENICAR (OLMESARTAN) | MDL No. 2606
PRODUCTS LIABILITY
LITIGATION Master Case No. 15-2606 (RBK/JS)
Hon. Robert B. Kugler, U.S.D.J.
Hon. Joel Schneider, U.S.M.J.
NOTICE OF MOTION
THIS DOCUMENT RELATES TO TO EXCLUDE THE TESTIMONY
ALL CASES OF PLAINTIFFS' EXPERT
STEPHEN LAGANA, M.D.

 

 

 

 

PLEASE TAKE NOTICE that on May 15, 2017 at 9:30 a.m., or as soon
thereafter as counsel may be heard, Drinker Biddle & Reath, LLP, counsel for
defendants Daiichi Sankyo, Inc., Daiichi Sankyo US Holdings, Inc., Daiichi
Sankyo Co., Ltd., Forest Laboratories, Inc., now known as Forest Laboratories,
LLC, Forest Pharmaceuticals, Inc., and Forest Research Institute, Inc. (collectively,
“Defendants”), will move before the Honorable Robert B. Kugler, U.S.D.J., in the
United States District Court for the District of New Jersey, for an order to exclude
the testimony of plaintiffs' expert Stephen Lagana, M.D. In support of this
application, Defendants will rely on the attached Brief in Support of the Motion to
Exclude, and Certification of Daniel B. Carroll, Esq. and attached exhibits,

submitted herewith.

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Dated:

88158602.1

March 31, 2017

Respectfully submitted,

/s/ Susan M. Sharko

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